                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                   3:05CV234-MU

BURTON A. GELLMAN and                     )
THE GELLMAN CORPORATION,                  )
                                          )
                  Plaintiffs,             )
                                          )
            v.                            )
                                          )                           ORDER
THE CINCINNATI INSURANCE COMPANY, )
                                          )
                  Defendant.              )
__________________________________________)


          THIS MATTER is before the Court upon third parties Harrison Jones and Restoration

Associates, Inc.’s Motion to Quash identical subpoenas seeking documents related to an

evaluation of fire damages conducted by Movants on behalf of Defendant Cincinnati Insurance

Company (“Cincinnati”). In light of the parties agreement to some issues and the balance of

burden versus benefit in the remaining areas of contention, this motion is GRANTED in part and

DENIED in part.

          Since the filing of this motion, Movants and Plaintiffs have agreed on most of the items

in the subpoenas. Movants still object, however, to Plaintiffs requests listed in categories 4 and

11 of the subpoenas. First, category 4 seeks “a complete copy of your file for each claim where

Cincinnati has been the insurer and Harrison Jones was retained by either Cincinnati or the

insured.” Second, category 11 seeks “all checks or other documents evidencing payments by

Cincinnati to or on behalf of Harrison Jones and/or Restoration Associates, Inc., in the past five

years.”

          First, a court may restrict discovery where “the burden or expense of the proposed



          Case 3:04-cv-00234-GCM          Document 33       Filed 03/31/06      Page 1 of 3
discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(2). Here, category 4 is, on its face,

overly broad and must be narrowed. It does not specify any time frame for the files sought, or

geographic limitation, or even any limitation as to the type of work involved. Though Plaintiffs’

claim involves appraisal alone, they seek entire files where the work performed did not involve

any appraisal. Further, they seek files where Movants were hired by parties other than Cincinnati.

Essentially, Plaintiffs are requesting the complete files on any job in any way related to

Cincinnati, no matter how dissimilar to their own situation that job might be. This is excessive,

and the large amounts of irrelevant information that would have to be produced to comply with

this request create a burden far outreaching its benefit. Plaintiffs mention in their response brief

that they are seeking more specific information about these files from Cincinnati. Once they

acquire this information, they should use it in conjunction with the Court’s comments and

discussion with Movants to help craft a narrower request that serves their legitimate purposes

while minimizing the burden of production. If an agreement cannot be reached, the Court will

rule on whether the narrowed request remains unduly broad and burdensome.

       Generally, a party is not entitled to discover information from a non-party when that

information is readily available from another party to the action. Fed. R. Civ. P. 26(b)(2). Here,

Plaintiffs have made no showing why they could not obtain the information sought in category 11

directly from Cincinnati, which should have its own records of the information sought

concerning payments it made to Movants. As Cincinnati is a party in this action, forcing the non-

party Movants to produce these records would be inappropriate.

       IT IS THEREFORE ORDERED that Third-Party Movants’ motion to quash is

GRANTED in part and DENIED in part. The subpoena is quashed with respect to categories 4

and 11 only. Plaintiffs are directed to narrow their request in category 4 of the subpoenas as



       Case 3:04-cv-00234-GCM            Document 33         Filed 03/31/06      Page 2 of 3
directed above. The parties are directed to proceed as per their internal agreement with respect to

the remaining categories of the subpoena.

                                                 Signed: March 31, 2006




       Case 3:04-cv-00234-GCM           Document 33        Filed 03/31/06      Page 3 of 3
